
The People of the State of New York, Respondent,
againstJohann Gomez, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Linda Poust Lopez, J.), rendered June 14, 2017, convicting him, upon his plea of guilty, of criminal possession of a weapon in the fourth degree, and sentencing him to three years' probation.




Per Curiam.
Judgment of conviction (Linda Poust Lopez, J.), rendered June 14, 2017, affirmed. 
We are unpersuaded that the probationary sentence imposed was unduly harsh or severe, and find no extraordinary circumstances warranting a reduction of the sentence in the interest of justice (see People v Fair, 33 AD3d 558 [2006], lv denied 8 NY3d 945 [2007]). Further, defendant was sentenced in accordance with his bargained- for plea and should not now "be heard to complain that he received what he bargained for" (id. at 558, quoting People v Chambers, 123 AD2d 270, 270 [1986]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: April 11, 2019










